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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



DISABLED PATRIOTS OF AMERICA, INC.,
a Florida Not-For-Profit Corporation, and
EFREM WALKER, Individually,

                Plaintiffs,
v                                                           Case No. 08-13825
                                                            Honorable Anna Diggs Taylor
OAKLAND POINTE PARTNERS, LLC, a                             Magistrate Judge R. Steven Whalen
Michigan Limited Liability Corporation,

            Defendant.
______________________________________________________________________________

LAW OFFICE OF OWEN B. DUNN, JR.           SCHWARTZ LAW FIRM, P.C.
By: Owen B. Dunn, Jr. (P66315)            By: Jay A. Schwartz (P45268)
Attorney for Plaintiffs                   Attorney for Defendant
520 Madison Avenue, Suite 330             37887 West Twelve Mile Road, Suite A
Toledo, Ohio 43604                        Farmington Hills, Michigan 48331
(419) 241-9661                            (248) 553-9400
______________________________________________________________________________



                  STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

                           At a session of said Court held in the City of
                          Detroit, County of Wayne, State of Michigan on:
                                         October 16, 2009

                        PRESENT: HON. ANNA DIGGS TAYLOR
                                U.S. DISTRICT COURT JUDGE

        NOW COME the parties, by and through their respective counsel, and do hereby stipulate

and agree to the terms of this Order and the court being otherwise fully advised in the premises;

        IT IS HEREBY ORDERED that this case is hereby dismissed with prejudice and without

interest, costs or attorney fees to either party.

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        This Order resolves the last pending claims and closes the case.



Dated: October 16, 2009                                       S/ ANNA DIGGS TAYLOR
                                                              U.S. DISTRICT COURT JUDGE


STIPULATED AS TO FORM
AND ENTRY:

/s/ with Consent of Owen B. Dunn, Jr.
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                                         CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing Stipulated Order of Dismissal was served upon counsel of record via the
Court's ECF System to their respective email addresses or First Class U.S. mail disclosed on the Notice of Electronic
Filing on October 16, 2009.

                                                              s/Johnetta M. Curry-Williams
                                                              Case Manager




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